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                             UNITED STATES DISTRICT COURT                                   AUG O8 2022
                             EASTERN DISTRICT OF ARKANSAS                            TAMMY H D
                                   CENTRAL DIVISION                              By:        ' ~~ERK
UNITED STATES OF AMERICA                       )       No. 4:22CROOJ;2(1 ~(lW                              DIPC&.allK
                                               )
V.                                             )       18 U.S.C. § 922(g)(4)
                                               )       18 U.S.C. § 922(a)(6)
TRACE SCOTT                                    )

                                          INDICTMENT

THE GRAND JURY CHARGES THAT:

                                             COUNTl

       On or about July 2, 2022, in the Eastern District of Arkansas, the defendant,

                                         TRACE SCOTT,

having been previously and knowingly adjudicated a mental defective or committed to a mental

institution did knowingly possess, in and affecting commerce, one or more of the following

firearms:

                1.     a Glock, model 43, 9mm pistol, bearing serial number BHPW893; and

                2.     a Savage, model 210, 12-gauge shotgun, bearing serial number F654598.

       All in violation of Title 18, United States Code, Sections 922(g)(4).

                                             COUNT2

       On or about June 25, 2022, in the Eastern District of Arkansas, the defendant,

                                         TRACE SCOTT,

in connection with the attempted acquisition of Heritage, model Rancher, .22 LR caliber rifle,

bearing serial number 3PH230819, from Sportsman's Edge, a licensed dealer of firearms within

the meaning of Chapter 44, Title 18, United States Code, knowingly made a false and fictitious

statement to Sportsman's Edge, which statement was intended and likely to deceive Sportsman's

Edge, as to a fact material to the lawfulness of such acquisition of the said firearm to the defendant


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under chapter 44 of Title 18, in that the defendant represented he had not been committed to a

mental institution in violation of Title 18, United States Code, Section 922(a)(6) and 924 (a)(2).



                                FORFEITURE ALLEGATION

       Upon conviction of Count 1 or 2 of this Indictment, the defendant, TRACE SCOTT, shall

forfeit to the United States, under Title 18, United States Code, Section 924(d), Title 21, United

States Code, Section 853, and Title 28, United States Code, Section 2461 (c), all firearms and

ammunition involved in the commission of the offense.



                     [END OF TEXT. SIGNATURE PAGE ATTACHED.]




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